           Case 1:25-mj-00062-RT           Document 10        Filed 02/04/25       Page 1 of 1 PageID.38
                                   UNITED STATES DISTRICT COURT
                                                   DISTRICT OF HAWAII
                                                  OFFICE OF THE CLERK
                                             300 ALA MOANA BLVD., RM C-338
                                                HONOLULU, HAWAII 96850
LUCY H. CARRILLO
  CLERK                                                                                                    TEL (808) 541-1300



        Date: February 4, 2025

        U.S. District Court
        Central District of California
        Edward R. Roybal Federal Building and United States Courthouse
        255 East Temple Street
        Los Angeles, CA 90012-3332

                   Re: USA v. Clint Jordan Lopaka Nahooikaika Borge
                   USDC HI Case No. MJ 25-000062 RT
                   Your Case No. 2:25-cr-00040-HDV (CDCA)
                   CrimIntakeCourtDocs-LA@cacd.uscourts.gov




        Dear Clerk,

                Please be advised that Rule 5 proceedings were conducted in the District of Hawaii for the above-
        referenced case. The following documents are transmitted to your district: 1) Agent’s Declaration,
        2) Motion to Detain Defendant, 3) Minutes Initial Appearance, 4) SEALED CJA 23, 5) Waiver of Rule 5
        & 5.1 Hearings, 6) CJA 20, 7) Minutes Detention Hearing, 8) Commitment to Another District, and 9)
        Docket Sheet. Please acknowledge receipt and return this letter by email.

                                                                Very Respectfully,

                                                                LUCY H. CARRILLO, Clerk of Court

                                                                by: /s/ JI, Deputy Clerk

        encl.
        cc: All Counsel of Record via CM/ECF
        ______________________________________________________________________________

        To Clerk’s Office:
        Receipt is acknowledged by:___________________________________________, Deputy Clerk

        Date:______________________                             Case Number: 2:25-cr-00040-HDV (CDCA)
